            Case 7:20-cr-00658-KMK Document 37 Filed 12/30/20 Page 1 of 1

                              UNITED STATES DISTRICT COURT
                                  THE CHARLES L. BRIEANT, JR.
                       FEDERAL BUILDING AND UNITED STATES COURTHOUSE
                                      3OO QUARROPAS ST.
                                WHITE PLAINS, NEW YORK 10601
                                          914-390-4251

                                                                         USDC SDNY
Chambers of                                                              Document
Hon, Paul E. Davison                                                     Electronically Filed
United States Magistrate Judge                                           Doc #
                                                                         Date Filed: 12/30/20
United States District Court
Southern District of New York
----------------------------------------------------------X
United States of America,
                            Plaintiff                         SCHEDULING ORDER

         -against-                                                   20-cr-00658- KMK

Koran Lockhart
                                       Defendant
----------------------------------------------------------X

TO ALL PARTIES:

The Court has scheduled a Change of Plea Hearing for 1/4/2021 at 3 pm, before Magistrate Judge Paul
E. Davison. To access the conference, counsel should call 877-336-1839 and use access code 5999739.
Members of the press and public may call the same number, but will not be permitted to speak during the
conference.

Dated: December 30, 2020
       White Plains, New York

                                                              SO ORDERED:

                                                              s/     PED

                                                              PAUL E. DAVISON
                                                              United States Magistrate Judge
